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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


  INNOVATION VENTURES, LLC, et al,               1:12-cv-05354-KAM-RLM

                             Plaintiffs,         HON. Kiyo A. Matsumoto

              -against-

  ULTIMATE ONE DISTRIBUTING CORP., et al,

                             Defendants.



                    THE MIDWEST DEFENDANTS’ ANSWER TO
                  PLAINTIFF’S SEVENTH AMENDED COMPLAINT

                                           and

                          AFFIRMATIVE AND SPECIAL DEFENSES

                                           and

                          COUNTERCLAIM AGAINST PLAINTIFFS

                                           and

                  CROSS CLAIM AGAINST DEFENDANTS BAJA,
             LESLIE ROMAN, JUAN ROMERO, AND JOSEPH SHAYOTA

                                           and

             THIRD-PARTY CLAIM AGAINST ROBERT MCCORMACK
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                        THE MIDWEST DEFENDANTS’ ANSWER TO
                      PLAINTIFF’S SEVENTH AMENDED COMPLAINT

         Defendants Midwest Wholesale Distributors, Inc., Walid Jamil aka Wally Jamil; Raid

  Jamil a/k/a Brian Jamil; Justin Shayota; JT Wholesale, Inc.; and Trimexico, Inc. (collectively, the

  “Midwest Defendants”) state for their Answer to Plaintiffs’ Seventh Amended Complaint as

  follows:

                                THE NATURE OF THE ACTION

         1. The Midwest Defendants deny the allegations as untrue to the extent they are asserted

  against them. Further answering, the Midwest Defendants neither admit nor deny the allegations

  to the extent they are asserted against other named defendants because the Midwest Defendants

  lack sufficient knowledge or information to form an opinion as to the truth of those allegations.

         2. The Midwest Defendants deny the allegations as untrue to the extent they are asserted

  against them. Further answering, the Midwest Defendants neither admit nor deny the allegations

  to the extent they are asserted against other named defendants because the Midwest Defendants

  lack sufficient knowledge or information to form an opinion as to the truth of those allegations.

         3. The Midwest Defendants deny that they are “criminal counterfeiters.” Further

  answering, the Midwest Defendants neither admit nor deny the remaining allegations because

  they lack sufficient knowledge or information to form an opinion as to the truth of those

  allegations.

         4. No answer is required in response to this allegation. To the extent the Court deems

  an answer required, the Midwest Defendants neither admit nor deny the allegations because they

  lack sufficient knowledge or information to form an opinion as to the truth of those allegations.

         5. The Midwest Defendants deny the allegations that are asserted against them as

  untrue. Further answering, the Midwest Defendants neither admit nor deny the allegations to the



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  extent they are asserted against other named defendants because the Midwest Defendants lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         6. The Midwest Defendants deny as untrue that they delivered “counterfeit” product, but

  neither admit nor deny the remaining allegations because they lack sufficient knowledge or

  information to form an opinion as to the truth of those allegations.

         7. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         8. The Midwest Defendants deny as untrue that they shipped “counterfeit” product, but

  neither admit nor deny the remaining allegations because they lack sufficient knowledge or

  information to form an opinion as to the truth of those allegations.

         9. The Midwest Defendants deny as untrue that they possessed “counterfeit” product,

  but neither admit nor deny the remaining allegations because they lack sufficient knowledge or

  information to form an opinion as to the truth of those allegations.

         10. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

                                           THE PARTIES

         11. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         12. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         13. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         14. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         15. No answer is required in response to this allegation.

  Previously Named Defendants

         16. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         17. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         18. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         19. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         20. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         21. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         22. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         23. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         24. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         25. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         26. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         27. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         28. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         29. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         30. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         31. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         32. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         33. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         34. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         35. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         36. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         37. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         38. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         39. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         40. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         41. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         42. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         43. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         44. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         45. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         46. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         47. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         48. The Midwest Defendants admit that Midwest Wholesale Distributors, Inc.

  (“Midwest”) is a Michigan corporation with facilities in Troy, Michigan and San Diego,

  California, but deny the remaining allegations as untrue.

         49. The Midwest Defendants admit only that Justin Shayota and Walid Jamil are related,

  that Justin Shayota is an owner of Midwest and Walid Jamil provides certain services to Midwest

  as an independent contractor, but neither admit nor deny the remaining allegations because they

  lack sufficient knowledge or information to form an opinion as to the truth of those allegations.

         50. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         51. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         52. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         53. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         54. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         55. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         56. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         57. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         58. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         59. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         60. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         61. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         62. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         63. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         64. The Midwest Defendants deny as untrue that they shipped “counterfeit” product, but

  neither admit nor deny the remaining allegations because they lack sufficient knowledge or

  information to form an opinion as to the truth of those allegations.

         65. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         66. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         67. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         68. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         69. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         70. The Midwest Defendants admit that JT Wholesale, Inc. (“JT Wholesale”) is a

  California corporation with its principal place of business located in San Diego, California, but

  denies that it participated in any “counterfeiting conspiracy.”

         71. The Midwest Defendants admit that Justin Shayota is the sole shareholder, director

  and officer of JT Wholesale, but neither admit nor deny the remaining allegations because they

  lack sufficient knowledge or information to form an opinion as to the truth of those allegations.

         72. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         73. The Midwest Defendants admit that Walid and Raid Jamil are part owners of MCR

  Innovations and Packaging, Inc. (“MCR Innovations”), but neither admit nor deny the remaining

  allegations because they lack sufficient knowledge or information to form an opinion as to the

  truth of those allegations.

         74. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         75. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         76. The Midwest Defendants admit that Trimexico Inc. (“Trimexico”) is a California

  corporation with facilities in El Centro, California and Sterling Heights, Michigan, but deny that

  they participated in any “counterfeiting conspiracy.”




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         77. The Midwest Defendants admit that Justin Shayota and Walid Jamil are principals of

  Trimexico, but neither admit nor deny the remaining allegations because they lack sufficient

  knowledge or information to form an opinion as to the truth of those allegations.

         78. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         79. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         80. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Defendants Newly Named in The Seventh Amended Complaint

         81. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         82. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         83. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         84. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         85. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         86. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         87. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         88. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

                                  JURISDICTION AND VENUE

         89. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         90. The Midwest Defendants deny the allegations as untrue.

         91. The Midwest Defendants deny the allegations as untrue.

                                   FACTUAL ALLEGATIONS

         92. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         93. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         94. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         95. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         96. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         97. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         98. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         99. The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         100.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         101.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         102.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         103.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         104.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         105.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         106.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         107.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         108.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         109.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         110.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Living Essentials’ Discovery of Counterfeit Product

         111.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         112.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         113.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         114.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         115.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         116.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         117.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Living Essentials’ Investigation and Court-Ordered Discovery Connects Defendants With
  The Counterfeits And Reveals The Factory Where They Were Packaged

         118.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         119.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         120.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         121.    The Midwest Defendants deny as untrue that they shipped or sold “counterfeit”

  product, but neither admit nor deny the remaining allegations because they lack sufficient

  knowledge or information to form an opinion as to the truth of those allegations.

         122.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         123.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         124.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         125.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         126.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendants Midwest; Baja Exporting; JT Wholesale, Inc.; MCR Innovations
  and Packaging, Inc.; MCR Printing and Packaging Corp.; Trimexico Inc.; Justin Shayota;
  Walid Jamil; Joseph Shayota; Adriana Shayota; Raid Jamil; Mario Ramirez; Camilo
  Ramirez; and Naftaunited.com

         127.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         128.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.



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         129.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         130.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         131.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         132.    The Midwest Defendants deny the allegations as untrue.

         133.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         134.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         135.    The Midwest Defendants deny that Midwest produced any “counterfeits,” but

  neither admit nor deny the remaining allegations because they lack sufficient knowledge or

  information to form an opinion as to the truth of those allegations.

         136.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         137.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         138.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         139.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         140.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         141.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         142.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         143.    The Midwest Defendants deny as untrue that they engaged in any unlawful

  conduct.

         144.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         145.    The Midwest Defendants deny as untrue that they engaged in any unlawful

  conduct.

         146.    The Midwest Defendants deny as untrue that they engaged in any unlawful

  conduct.

         147.    The Midwest Defendants deny as untrue that they engaged in any unlawful

  conduct. Further answering, the Midwest Defendants deny any ownership stake in, or control of,

  MCR Printing and Packaging Corp.

         148.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Leslie Roman, Donna Roman and Flexopack

         149.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         150.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         151.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         152.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         153.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         154.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         155.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendant One Stop Label Corporation

         156.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         157.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         158.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         159.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Juan Romero, Nutrition Private Label, Inc. and Advanced
  Nutraceutical Manufacturing LLC




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         160.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         161.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         162.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         163.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Ultimate One Distributing Corp.; Gulam Najimi, a.k.a. Ghulamali
  Ali Najimi; Wally Najimi, a.k.a. Ahmed Wally Najimi; Price Master Corp.; and Abdul Satar
  Najimi

         164.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         165.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         166.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         167.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         168.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendants Excel Wholesale Distributors, Inc. and Farid Tursonzadah, a.k.a.
  Farid Turson

         169.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.



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         170.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         171.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Core-Mark International, Inc.

         172.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         173.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         174.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         175.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         176.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         177.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         178.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         179.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         180.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         181.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         182.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         183.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Heights Deli And Company; Richmond Wholesale Company, Inc.;
  and Saquib Khan

         184.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         185.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         186.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         187.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         188.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         189.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         190.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of The 7-Eleven Defendants




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         191.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         192.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         193.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         194.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         195.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         196.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         197.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Prestige Mobil

         198.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Kaival Deli & Catering

         199.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Valero Retail Holdings, Inc.

         200.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         201.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         202.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Nevins Gourmet

         203.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendants New Island Deli, Delta Distribution Services Corp., Empire Trade
  Wholesale Corp., And Sulaiman S. Aamir

         204.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         205.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         206.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         207.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         208.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendant Brothers Trading Co., Inc. d/b/a Victory Wholesale Grocers

         209.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         210.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.



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  Involvement of Defendant Quality King Distributors, Inc.

         211.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         212.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         213.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         214.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Baseline Distribution, Inc. and David Flood

         215.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         216.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Moa Trading, Inc. and Mark K. Lee

         217.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         218.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         219.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         220.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         221.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         222.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Capital Sales Company

         223.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         224.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendants Elegant Trading, Inc. and Ahmed Bhimani

         225.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         226.    The Midwest Defendants deny that they sold “counterfeit” product, but neither

  admit nor deny the remaining allegations because they lack sufficient knowledge or information

  to form an opinion as to the truth of those allegations.

         227.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendants Food Distributors International, Inc. and Scott Tilbrook

         228.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         229.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.




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         230.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         231.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendant Top Choice Trading USA, Inc.

         232.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         233.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         234.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Universal Wholesale, Inc. and Joseph Sevany, Sr. a.k.a. Joe
  Zaitouna

         235.       The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         236.       The Midwest Defendants deny that they sold “counterfeit” product, but neither

  admit nor deny the remaining allegations because they lack sufficient knowledge or information

  to form an opinion as to the truth of those allegations.

         237.       The Midwest Defendants deny as untrue the allegations that Walid Jamil is a

  principal of Midwest or one of the “kingpins” of any conspiracy. To the extent the allegations in

  paragraph 237 refer to specific documents, the Midwest Defendants neither admit nor deny the

  allegations as the referenced documents speak for themselves and constitute the best evidence of

  their contents.      The Midwest Defendants neither admit nor deny the remaining allegations




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  because they lack sufficient knowledge or information to form an opinion as to the truth of those

  allegations.

         238.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         239.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Purity Wholesale Grocers, Inc.

         240.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         241.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         242.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement Of Defendant Shah Distributors, Inc. and Arvind Shah

         243.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         244.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         245.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants Steerforth Trading, Inc. a.k.a. Steer Forth Trading, Inc. and Isaac
  Anzaroot

         246.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.



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         247.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         248.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendant Akshar Services LLC a.k.a. Perfume Shower

         249.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendant Mike Wholesale a.k.a Mikes-Wholesale.com

         250.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

  Involvement of Defendants John Does 1-10

         251.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

                           FIRST CLAIM FOR RELIEF
              FEDERAL TRADEMARK INFRINGMENT (15 U.S.C. § 1114(1)(a))

         252.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         253.    The Midwest Defendants deny the allegations as untrue.

         254.    The Midwest Defendants deny the allegations as untrue.

         255.    The Midwest Defendants deny the allegations as untrue.

         256.    The Midwest Defendants deny the allegations as untrue.

         257.    The Midwest Defendants deny the allegations as untrue.

                          SECOND CLAIM FOR RELIEF
              FEDERAL TRADEMARK INFRINGMENT (15 U.S.C. § 1114(1)(b))




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         258.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         259.    The Midwest Defendants deny the allegations as untrue.

         260.    The Midwest Defendants deny the allegations as untrue.

         261.    The Midwest Defendants deny the allegations as untrue.

         262.    The Midwest Defendants deny the allegations as untrue.

         263.    The Midwest Defendants deny the allegations as untrue.

                              THIRD CLAIM FOR RELIEF
                       CONTRIBUTORY TRADEMARK INFRINGMENT

         264.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         265.    The Midwest Defendants deny the allegations as untrue.

         266.    The Midwest Defendants deny the allegations as untrue.

         267.    The Midwest Defendants deny the allegations as untrue.

         268.    The Midwest Defendants deny the allegations as untrue.

         269.    The Midwest Defendants deny the allegations as untrue.

         270.    The Midwest Defendants deny the allegations as untrue.

         271.    The Midwest Defendants deny the allegations as untrue.

                        FOURTH CLAIM FOR RELIEF
        FALSE DESCRIPTION AND DESIGNATION OF ORIGIN IN COMMERCE

         272.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         273.    The Midwest Defendants deny the allegations as untrue.

         274.    The Midwest Defendants deny the allegations as untrue.




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         275.    The Midwest Defendants deny the allegations as untrue.

         276.    The Midwest Defendants deny the allegations as untrue.

         277.    The Midwest Defendants deny the allegations as untrue.

                                     FIFTH CLAIM FOR RELIEF
                                   FEDERAL FALSE ADVERTISING

         278.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         279.    The Midwest Defendants deny the allegations as untrue.

         280.    The Midwest Defendants deny the allegations as untrue.

         281.    The Midwest Defendants deny the allegations as untrue.

         282.    The Midwest Defendants deny the allegations as untrue.

         283.    The Midwest Defendants deny the allegations as untrue.

         284.    The Midwest Defendants deny the allegations as untrue.

                                     SIXTH CLAIM FOR RELIEF
                                   FEDERAL DILUTION OF MARK

         285.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         286.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         287.    The Midwest Defendants deny the allegations as untrue.

         288.    The Midwest Defendants deny the allegations as untrue.

         289.    The Midwest Defendants deny the allegations as untrue.

         290.    The Midwest Defendants deny the allegations as untrue.

         291.    The Midwest Defendants deny the allegations as untrue.




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         292.    The Midwest Defendants deny the allegations as untrue.

                              SEVENTH CLAIM FOR RELIEF
                           FEDERAL COPYRIGHT INFRINGEMENT

         293.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         294.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         295.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         296.    The Midwest Defendants deny the allegations as untrue.

         297.    The Midwest Defendants deny the allegations as untrue.

         298.    The Midwest Defendants deny the allegations as untrue.

         299.    The Midwest Defendants deny the allegations as untrue.

         300.    The Midwest Defendants deny the allegations as untrue.

         301.    The Midwest Defendants deny the allegations as untrue.

                      EIGHTH CLAIM FOR RELIEF
     NEW YORK DILUTION OF MARK AND INJURY TO BUSINESS REPUTATION

         302.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         303.    The Midwest Defendants neither admit nor deny the allegations because they lack

  sufficient knowledge or information to form an opinion as to the truth of those allegations.

         304.    The Midwest Defendants deny the allegations as untrue.

         305.    The Midwest Defendants deny the allegations as untrue.

         306.    The Midwest Defendants deny the allegations as untrue.




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         307.    The Midwest Defendants deny the allegations as untrue.

         308.    The Midwest Defendants deny the allegations as untrue.

                              NINTH CLAIM FOR RELIEF
                       NEW YORK DECEPTIVE BUSINESS PRACTICES

         309.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         310.    The Midwest Defendants deny the allegations as untrue.

         311.    The Midwest Defendants deny the allegations as untrue.

         312.    The Midwest Defendants deny the allegations as untrue.

         313.    The Midwest Defendants deny the allegations as untrue.

         314.    The Midwest Defendants deny the allegations as untrue.

                              TENTH CLAIM FOR RELIEF
                           COMMON LAW UNFAIR COMPETITION

         315.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         316.    The Midwest Defendants deny the allegations as untrue.

         317.    The Midwest Defendants deny the allegations as untrue.

         318.    The Midwest Defendants deny the allegations as untrue.

         319.    The Midwest Defendants deny the allegations as untrue.

                              ELEVENTH CLAIM FOR RELIEF
                            COMMON LAW UNJUST ENRICHMENT

         320.    The Midwest Defendants incorporate and restate their foregoing answers as

  though fully set forth herein.

         321.    The Midwest Defendants deny the allegations as untrue.

         322.    The Midwest Defendants deny the allegations as untrue.



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       THE MIDWEST DEFENDANTS’ AFFIRMATIVE AND SPECIAL DEFENSES
              TO PLAINTIFF’S SEVENTH AMENDED COMPLAINT

         Defendants Midwest Wholesale Distributors, Inc., Walid Jamil a/k/a Wally Jamil; Raid

  Jamil a/k/a Brian Jamil; Justin Shayota; JT Wholesale, Inc.; and Trimexico, Inc. (collectively,

  “Midwest Defendants”) state for their Affirmative and Special Defenses to Plaintiffs’ Seventh

  Amended Complaint as follows:

         1. Plaintiffs’ Seventh Amended Complaint fails to state a claim upon which relief may

  be granted and the Midwest Defendants are entitled to judgment as a matter of law.

         2. Plaintiffs’ claims are barred, in whole or in part, due to Plaintiffs’ fraud.

         3. Plaintiffs’ claimed trademarks may not be protectable or enforceable.

         4. Plaintiffs’ claimed trademarks may not be inherently distinctive and may not have

  acquired distinctiveness or secondary meaning in the marketplace.

         5. Even if cognizable as trademarks, the claimed trademarks are exceedingly weak and

  cannot be extended to enjoin competitors of non-identical marks.

         6. The Midwest Defendants are not using Plaintiffs’ claimed trademark or any

  confusingly similar mark.

         7. The Midwest Defendants are causing no likelihood of confusion as to the source of

  their products or any affiliation with or endorsement by the Plaintiffs.

         8. The Midwest Defendants have not knowingly or willfully infringed any trademark or

  copyright of the Plaintiffs. Any alleged infringement was inadvertent, not intentional or with

  Plaintiffs’ permission.

         9. The Plaintiffs’ copyrighted work is not a work of original authorship and is therefore

  not susceptible to registration and should be cancelled.




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          10. Plaintiffs’ copyrighted work was not developed by the Plaintiffs and was otherwise

  widely available to manufacturers of dietary supplements.

          11. Plaintiffs’ copyright violates public policy and is therefore unenforceable.

          12. Plaintiffs’ claims may be barred entirely or partly by the doctrine of fair use.

          13. Plaintiffs’ claims may be barred entirely or partly by the doctrine of acquiescence.

          14. Plaintiffs’ claims for copyright infringement are barred, in whole or in part, because

  of defects in Plaintiffs’ copyright registrations.

          15. Plaintiffs are unable to enforce the alleged copyright because Plaintiffs abandoned the

  copyrighted material.

          16. Plaintiffs may have unclean hands with regard to the subject matter of this action.

          17. If it is proven that any products or materials advertised, sold or distributed by the

  Midwest Defendants infringed on any trademark, trade dress rights, or copyrights of the

  Plaintiffs in any way, then any such activity was done innocently, unintentionally, and without

  any intention to cause confusion, to cause mistake or to deceive.

          18. If it is proven that any products advertised, sold or distributed by the Midwest

  Defendants infringed on any trademark or trade dress rights of Plaintiffs in any way, then any

  such activity was done without any knowledge or awareness of Plaintiffs’ claims or asserted

  rights to any such marks or trade dress.

          19. Any alleged copyright infringement was innocent, inadvertent, and unintentional.

          20. The names, marks, trade dress claims, copyrights, and registrations asserted by the

  Plaintiffs against the Midwest Defendants in this case are being used to violate the antitrust laws

  of the United States.




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             21. The service of the summons and complaint in this case was the first notice to the

  Midwest Defendants of the claims and allegations asserted in the complaint against the Midwest

  Defendants. The Midwest Defendants received no prior notice, cease and desist request, or other

  objection from Plaintiffs with respect to any advertising, sale or distribution of products

  allegedly incorporating marks, language, materials, copyrights, or trade dress in which Plaintiffs

  claim proprietary or exclusive rights.

             22. Plaintiffs have sustained no damages attributable to any alleged copyright

  infringement.

             23. Any claim for damages arising out of any alleged copyright infringement may be

  barred if the Midwest Defendants’ first use of any allegedly infringing material took place prior

  to registration of any copyrights at issue in this case.

             24. Plaintiffs’ claims may be barred by failure of one or more conditions

  precedent.

             25. Plaintiffs’ claims may be barred by failure of one or more conditions

  subsequent.

             26. Any alleged wrongful acts and/or incidents and/or occurrence and/or breaches

  complained of by Plaintiffs did not occur as stated by Plaintiffs or did not occur at all.

             27. Plaintiffs’ claims may be barred for lack of standing.

             28. Plaintiffs’ claims may be barred by the parole evidence rule.

             29. Plaintiffs’ claims may be barred because they failed to join all necessary

  parties.

             30. Some or all of the claims may be barred by the statute of limitations.

             31. Plaintiffs’ claims are barred under the doctrine of unclean hands.




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         32. Upon information and belief, the alleged conduct, had it occurred, was

  authorized.

         33. Plaintiffs’ claims are barred by their failure to mitigate damages.

         34. Plaintiffs’ claims are barred by license, consent, acquiescence, waiver, laches

  and estoppel.

         35. Plaintiffs’ copyrights are unenforceable due to Plaintiffs’ misuse.

         36. The Midwest Defendants are not liable for copyright infringement for their

  use, if any, of the copyrighted works, because such use, if any, constituted fair use of the

  copyrighted works.

         37. One or more of the copyright registrations that are allegedly infringed by the Midwest

  Defendants are invalid for failure to comply with the requirements for copyrightable subject

  matter set forth in 17 U.S.C. § 102.

         38. The Midwest Defendants’ alleged use of Plaintiffs’ copyrighted material is

  lawful use based on agreements between Plaintiffs and their customers and/or former

  customers.

         39. Plaintiffs consented to the Midwest Defendants’ use of Plaintiffs’ copyrighted

  material under agreements between the Plaintiffs and their customers and/or former

  customers.

         40. One or more of Plaintiffs’ claims for statutory damages and attorneys’ fees

  under 17 U.S.C. § 504 are barred because some, if not all, of Plaintiffs’ copyright

  registrations were not made within three months after the first publication of the allegedly

  infringing works, as required by 17 U.S.C. § 412.

         41. Plaintiffs are not entitled to injunctive relief because any alleged injury to




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         42. Plaintiffs’ damages are not immediate or irreparable, and Plaintiffs have an

  adequate remedy at law.

         43. The Midwest Defendants are not liable for copyright infringement to the

  extent their use of the copyrighted material, if any, is protected by Title II of the 1998

  Digital Millennium Copyright Act, known as the Online Copyright Infringement Liability

  Limitation Act (OCILLA) (17 U.S.C.§ 512).

         44. Plaintiffs may lack standing to sue

         45. The Midwest Defendants are not, and never were, major marketers of 5 Hour Energy.

         46. The Midwest Defendants hereby give notice that they intend to rely upon such other

  and further affirmative and special defenses as may appear applicable through discovery

  proceedings and hereby reserve the right to amend their answer to reflect such other affirmative

  and special defenses.




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       THE MIDWEST DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFFS

         Defendants Midwest Wholesale Distributors, Inc., Walid Jamil a/k/a Wally Jamil; and

  Justin Shayota (collectively, the “Midwest Parties” or “Counter-Plaintiffs”) state for their

  Counterclaim against Plaintiffs as follows:

                            PARTIES, JURISDICTION AND VENUE

         1. Counter-Plaintiff Midwest Wholesale Distributors, Inc. (“Midwest”) is a Michigan

  corporation with its principal places of business located in Troy, Michigan and San Diego,

  California.

         2. Counter-Plaintiff Walid Jamil a/k/a Wally Jamil (“Jamil”) is an individual residing in

  Troy, Michigan.

         3. Counter-Plaintiff Justin Shayota (“Justin Shayota”) is an individual residing in San

  Diego, California.

         4. Counter-Defendant Innovation Ventures, LLC is a Michigan limited liability

  company with its principal place of business located in Farmington Hills, Michigan.

         5. Counter-Defendant Living Essentials, LLC is a Michigan limited liability company

  with its principal place of business located in Farmington Hills, Michigan.

         6. Counter-Defendant International IP Holdings, LLC is a Michigan limited liability

  company with its principal place of business located in Bloomfield Hills, Michigan.

         7. The Counter-Defendants are collectively referred to herein as “Living Essentials.”

         8. Jurisdiction and venue have been established in the Court.

                                   GENERAL ALLEGATIONS

         9. Midwest is a reputable re-packer and wholesale distributor of daily household

  products in Michigan and California.




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         10. Justin Shayota owns Midwest.

         11. Justin Shayota is the nephew of Jamil. Jamil is not an officer, director or shareholder

  of Midwest, however, Jamil has assisted his nephew, Justin Shayota, in getting Midwest’s

  business off the ground, and Jamil’s personal residence serves as the resident agent office for

  Midwest.

         12. At some point between May and July of 2011, Jamil participated in a telephone

  conference with Robert McCormack (“McCormack”), a high-ranking employee of Living

  Essentials, and Joseph Shayota (“Joe Shayota”), the owner of Baja Exporting, LLC and

  Tradeway International, Inc. d/b/a Baja Exporting (collectively, “Baja”).

         13. Baja is also owned by Joe Shayota’s wife, Adriana Shayota.

         14. At the time of the telephone conference, Baja was an authorized distributor of 5 Hour

  Energy product (“5 Hour”). Baja represented that it had exclusive rights to distribute and sell 5

  Hour in Mexico, and non-exclusive rights to distribute and sell 5 Hour in the United States.

         15. During the telephone conference, Joe Shayota communicated to McCormack that it

  was difficult to sell 5 Hour in Mexico. Jamil was informed during this call by Joe Shayota that

  Joe Shayota had already brought some 5 Hour from Mexico into the United States for sale and

  that he was in the process of transporting additional quantities.

         16. McCormack directed Joe Shayota to arrange for transportation of the 5 Hour from

  Mexico to the United States and to engage a company to re-label and re-package 5 Hour from

  Spanish/Mexican labels to English/United States labels for sale in the United States. Baja hired

  Midwest for this purpose.

         17. Midwest retained Leslie Roman (“Roman”), which the Midwest Parties understood to

  be an authorized broker, for the purpose of providing 5 Hour boxes and English labels.




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          18. In or around October of 2011, Roman directed Midwest to purchase a printer for

  coding and printing expiration dates. Based on this direction, Justin Shayota acquired a printer

  through Videojet Technologies, Inc. and other equipment, totaling $50,000, which was paid by

  Baja, along with the subsequent ink, equipment and other supplies.

          19. Midwest commenced its re-labeling and re-packaging operations in or about

  November 2011. Once the product was labeled, it was packed for delivery back to Baja (Spanish

  and English labels).

          20. On November 23, 2011, Midwest issued its first 5-Hour invoice to Baja for 168 boxes

  of berry flavored 5 Hour for a total cost of $42,000.

          21. On December 2, 2011, Midwest issued another invoice to Baja for 843 boxes of

  orange flavored 5 Hour and 795 boxes of berry flavored 5 Hour for a total cost of $409,500.

          22. In May of 2012, Baja and Joe Shayota directed Midwest to continue with the re-

  packaging and re-labeling of 5 Hour, but to commence deliveries to Dan-Dee Company (English

  labels), a wholesale distributor in Spring Valley, California, as well as to Baja.

          23. Dan Dee’s owner, Fadi “Kevin” Attiq, represented that Dan-Dee was also an

  authorized 5 Hour distributor.

          24. Baja and Joe Shayota subsequently directed Midwest to find a co-packer for 5 Hour

  and Midwest proceeded under this direction. At all times, Jamil operated with the understanding

  that Baja’s and Joe Shayota’s directive was consistent with Baja’s and Dan Dee’s status as

  authorized distributors of 5 Hour and that the directive was authorized by McCormack and 5

  Hour.

          25. Midwest’s re-labeling and re-packaging operations continued until late October or

  early November of 2012.




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         26. Throughout this time, Midwest’s involvement was limited to: (a) purchasing printing

  and other equipment using funds from Baja, (b) purchasing boxes and labels through Roman

  using funds from Baja, (c) receiving sealed 5 Hour in blank bottles from Romero with

  identification labels on the boxes as to quantity, and (d) labeling and packaging the 5 Hour and

  subsequently delivering the finished product to Baja and Dan-Dee.

         27. Importantly, the Midwest Parties never tampered with any liquid, bottle, cap or

  related mold. Midwest simply labeled and packaged the 5 Hour.

         28. Further, at all relevant times, the Midwest Parties reasonably believed that Living

  Essentials approved the labeling and packaging operations for distribution and sale in the United

  States. This reasonable belief was supported by the telephone conference in the summer of 2011

  between McCormack, Joe Shayota and Jamil, McCormack’s directives during that telephone

  conference, Baja’s and Dan Dee’s authority as 5 Hour distributors, Baja’s numerous

  representations and directives, and the fact that the product crossed from Mexico into the United

  States without incident.

         29. In late October or early November of 2012, the Midwest Parties learned that their

  understanding regarding the nature of the parties’ relationship to Living Essentials may have

  been erroneous. As a result, Midwest immediately shut down its operations.

         30. Notwithstanding these facts, Living Essentials have targeted the Midwest Parties in

  their pleadings and in the media, accusing them of criminal activity and orchestrating an alleged

  counterfeiting conspiracy.

         31. Living Essentials also illegally raided Jamil’s home and removed certain of his

  personal items, which were not authorized by the Court’s Seizure Order.




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            32. Living Essentials improper conduct during the seizure included, but was not limited

  to, searching the purse of Jamil’s wife, searching the car of Jamil’s wife, and calling a locksmith

  into the home to have locks removed from the bedroom door of Jamil’s daughter, after being

  informed that it was the daughter’s bedroom.

            33. Despite the fact that Jamil’s home address is identified as the resident agent address

  for Midwest, upon discovering that the address was a private residence, it was incumbent upon

  Living Essentials to either terminate its execution of the seizure order or conduct a far narrower

  search of those locations where relevant evidence could reasonably be expected to be found.

            34. Such a search would obviously not include Jamil’s wife’s purse and car or Jamil’s

  daughter’s bedroom.

                                Count I - Fraudulent Misrepresentation

            35. Counter-Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            36. Living Essentials, through their employee (McCormack) and authorized distributor

  (Baja), intentionally made false representations of material facts to the Midwest Parties regarding

  the legitimacy of the business transactions referenced above.

            37. Living Essentials’ representations were false when they were made.

            38. Living Essentials knew that their representations were false when they were made or

  they made them recklessly, without knowing whether they were true.

            39. Living Essentials intended that Counter-Plaintiffs rely on the representations.

            40. Counter-Plaintiffs relied on Living Essentials’ false representations by engaging in

  the business transactions referenced above.




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            41. As a result of Living Essentials’ fraudulent misrepresentations, Counter-Plaintiffs

  have suffered substantial damages and other economic injury, loss of goodwill, harm to their

  business reputation, loss of esteem and standing in the community, and loss of business

  opportunities.

                                Count II - Innocent Misrepresentation

            42. Counter-Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            43. Living Essentials’ representations, as set forth in the preceding paragraphs, were

  made in connection with the negotiation and formation of contracts between Midwest, Baja and

  various other persons and entities.

            44. Midwest would not have entered into the contracts if Living Essentials had not made

  the representations.

            45. As a result of Living Essentials’ misrepresentations, Counter-Plaintiffs have suffered

  substantial damages and other economic injury, loss of goodwill, harm to their business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                        Count III – Silent Fraud

            46. Counter-Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            47. Living Essentials had an affirmative duty to speak, but failed to disclose material

  facts, causing Counter-Plaintiffs to have a false impression as to the legitimacy of the business

  transactions referenced above.




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            48. As a result of Living Essentials’ silent fraud, Counter-Plaintiffs have suffered

  substantial damages and other economic injury, loss of goodwill, harm to their business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                       Count IV– Civil Conspiracy

            49. Counter-Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            50. Living Essentials illegally, maliciously, and wrongfully conspired with one another,

  Baja, Joe Shayota, Roman, Romero and others with the intent to and for the illegal purpose of

  framing Counter-Plaintiffs and causing them to engage in questionable business transactions.

            51. As a result of the conspiracy and Living Essentials’ illegal, wrongful, or tortious acts,

  Counter-Plaintiffs have suffered substantial damages and other economic injury, loss of

  goodwill, harm to their business reputation, loss of esteem and standing in the community, and

  loss of business opportunities.

                                        Count V – Business Defamation

            52. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.

            53. Midwest is in the business of re-packing and distributing daily household products in

  Michigan and California.

            54. Through pleadings and media publications, Living Essentials have falsely accused

  Midwest of unlawful behavior, including, but not limited to, operating a conspiracy to

  manufacture, distribute and sell counterfeit products.

            55. Living Essentials negligently or with actual malice published false and defamatory

  statements about Midwest, which reached Midwest’s current suppliers and customers.




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          56. The defamatory statements have a tendency to, and did, prejudice Midwest in the

  conduct of its business and deter others from dealing with Midwest.

          57. The statements Living Essentials made were not privileged.

          58. As a direct and proximate result of Living Essentials’ wrongful conduct, Midwest has

  suffered substantial economic injury, loss of goodwill, harm to its business reputation, loss of

  esteem and standing in the community, and loss of business opportunities.

                                         Count VI - Defamation

          59. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.

          60. Living Essentials have falsely accused Jamil and Justin Shayota of engaging in

  criminal activity.

          61. Living Essentials published the remarks to third parties with knowledge of the falsity

  of the statements or in reckless disregard of their truth or falsity.

          62. The publications were not privileged.

          63. The publications of these remarks have resulted in damage to Jamil and Justin

  Shayota’s reputations in the community and economic loss.

          64. The publications are defamation per se.

                       Count VI – Intentional Infliction of Emotional Distress

          65. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.

          66. Living Essentials’ conduct and false accusations, as outlined above, were intentional,

  extreme, outrageous, and of such character as not to be tolerated by a civilized society.

          67. Living Essentials’ conduct and false accusations, as outlined above, were for an

  ulterior motive or purpose.




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           68. Living Essentials’ conduct and false accusations resulted in severe and serious

  emotional distress.

           69. As a direct and proximate result of Living Essentials’ conduct, Jamil and Justin

  Shayota have been severely damaged.

                                        Count VI – Conversion

           70. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.

           71. Living Essentials illegally raided Jamil’s home and removed certain of his personal

  items, which were outside the Court’s Seizure Order.

           72. In the process, Living Essentials asserted dominance over Jamil’s personal property.

           73. The acts described above constitute unlawful conversion, resulting in damages to

  Jamil.

           74. Jamil is entitled to treble damages and attorney’s fees pursuant to MCL 600.2919a.

                                  Count VII – Malicious Prosecution

           75. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.

           76. Living Essentials have made false accusations of criminal activity against Counter-

  Plaintiffs without probable cause and with malice.

           77. Upon information and belief, Living Essentials have made such accusations for

  personal reasons, which include, but are not limited to, vexation, damage to Counter-Plaintiff’s

  professional reputations, damage to Counter-Plaintiff’s community reputation, and retaliation.

           78. MCL 600.2907 provides for civil and criminal liability for every person who, for

  vexation, trouble, or with malice, causes another to be arrested, attached, or in any way

  proceeded against by any process of civil or criminal action without that person’s consent.

           79. No criminal charges have been brought relative to the accusations.




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         80. As a direct result of Living Essentials’ accusations, Counter-Plaintiffs has suffered

  substantial damage.

                                   Count VIII – Abuse of Process

         81. Counter-Plaintiffs incorporate the foregoing allegations as though fully stated herein.


         82. Living Essentials abused the criminal investigatory process by using it for their

  ulterior motive or purpose to cause vexation, trouble, embarrassment, damage to Counter-

  Plaintiffs’ professional reputation, damage to Counter-Plaintiffs’ community reputation, and as

  retaliation. Such use of the process was not legitimate, regular, or legal.


         83. The allegations and misuse of the criminal investigatory process was improper since

  Living Essentials knew, or should have known, that the allegations regarding Counter-Plaintiffs’

  actions were false.


         84. As a direct result of Living Essentials’ abuse of the criminal investigatory process,

  Counter-Plaintiffs’ professional reputations have been damaged and they has suffered mental

  anguish.

                                      REQUEST FOR RELIEF

         85. Counter-Plaintiffs respectfully request this Court to enter a Judgment in their favor

  and against Living Essentials in an amount sufficient to compensate them for all economic loss,

  mental distress, treble damages, exemplary and punitive damages, and attorney’s fees and costs.




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        THE MIDWEST DEFENDANTS’ CROSS CLAIM AGAINST BAJA, JOSEPH
        SHAYOTA, ADRIANA SHAYOTA, LESLIE ROMAN AND JUAN ROMERO

         Defendants Midwest Wholesale Distributors, Inc., Walid Jamil a/k/a Wally Jamil; and

  Justin Shayota (collectively, “Midwest Parties” or “Cross Plaintiffs”) state for their Cross Claim

  Against Defendants Baja Exporting, LLC, Tradeway International, Inc. d/b/a Baja Exporting,

  Joseph Shayota, Leslie Roman, and Juan Romero as follows:

                            PARTIES, JURISDICTION AND VENUE

         1. Cross Plaintiff Midwest Wholesale Distributors, Inc. (“Midwest”) is a Michigan

  corporation with its principal places of business located in Troy, Michigan and San Diego,

  California.

         2. Cross Plaintiff Walid Jamil aka Wally Jamil (“Jamil”) is an individual residing in

  Troy, Michigan.

         3. Cross Plaintiff Justin Shayota (“Justin Shayota”) is an individual residing in San

  Diego, California.

         4. Cross Defendant Joseph Shayota (“Joe Shayota”) is an individual residing in San

  Diego, California.

         5. Cross Defendant Adriana Shayota (“Adriana Shayota”) is an individual residing in

  San Diego, California.

         6. Cross Defendant Baja Exporting, LLC is a California limited liability company with

  its principal place of business located in San Diego, California.

         7. Cross Defendant Tradeway International, Inc. d/b/a Baja Exporting is a California

  corporation with its principal place of business located in San Diego, California.

         8. Baja Exporting, LLC and Tradeway International, Inc. d/b/a Baja Exporting are

  collectively referred to herein as “Baja.”



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         9. Cross Defendant Leslie Roman (“Roman”) is an individual residing in California.

         10. Cross Defendant Juan Romero Gutierrez (“Juan Romero”) is an individual residing in

  California.

         11. Joe Shayota, Baja, Leslie Roman, Adriana Shayota and Juan Romero are collectively

  referred to as “Cross Defendants.”

         12. Jurisdiction and venue have been established in the Court.

                                   GENERAL ALLEGATIONS

         13. Cross Plaintiffs incorporate and restate the general allegations set forth in their

  Counterclaim against Living Essentials.

                             Count I - Fraudulent Misrepresentation

         14. Cross Plaintiffs incorporate the foregoing allegations as though fully re-stated herein.

         15. Cross Defendants intentionally made false representations of material facts to the

  Midwest Parties regarding the legitimacy of the business transactions referenced above, and the

  approval of same by Living Essentials.

         16. Cross Defendants’ representations were false when they were made.

         17. Cross Defendants knew that their representations were false when they were made or

  made them recklessly, without knowing whether they were true.

         18. Cross Defendants intended that Cross Plaintiffs rely on the representations.

         19. Cross Plaintiffs relied on Cross Defendants’ false representations in engaging in the

  business transactions referenced above.

         20. As a direct and proximate result of Cross Defendants’ wrongful conduct, Cross

  Plaintiffs have suffered substantial economic injury, loss of goodwill, harm to its business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.




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                               Count II - Innocent Misrepresentation

          21. Cross Plaintiffs incorporate the foregoing allegations as though fully re-stated herein.

          22. Cross Defendants’ representations, as set forth in the preceding paragraphs, were

  made in connection with the making contracts between Midwest, Baja and various other persons

  and entities.

          23. Cross Plaintiffs would not have entered into the contracts if Cross Defendants had not

  made the representations.

          24. As a direct and proximate result of Cross Defendants’ wrongful conduct, Cross

  Plaintiffs have suffered substantial economic injury, loss of goodwill, harm to its business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                          Count III – Silent Fraud

          25. Cross Plaintiffs incorporate the foregoing allegations as though fully re-stated herein.

          26. Cross Defendants had an affirmative duty to speak, but failed to disclose material

  facts, causing the Cross Plaintiffs to have a false impression as to the legitimacy of the business

  transactions referenced above.

          27. As a direct and proximate result of Cross Defendants’ wrongful conduct, Cross

  Plaintiffs have suffered substantial economic injury, loss of goodwill, harm to its business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                     Count IV– Civil Conspiracy

          28. Cross Plaintiffs incorporate the foregoing allegations as though fully re-stated herein.

          29. Cross Defendants illegally, maliciously, and wrongfully conspired with one another

  with the intent to and for the illegal purpose of framing Cross Plaintiffs and causing them to

  engage in questionable business transactions.




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         30. As a direct and proximate result of Cross Defendants’ wrongful conduct, Cross

  Plaintiffs have suffered substantial economic injury, loss of goodwill, harm to its business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                        Count V – Express, Implied or Common-Law Indemnity

         31. Cross Plaintiffs incorporate the foregoing allegations as though fully re-stated herein.

         32. Cross Plaintiffs reasonably relied on the representations of Cross Defendants that the

  business transactions referenced above were legitimate and that same were authorized by Living

  Essentials.

         33. Living Essentials have now commenced litigation against Cross Plaintiffs alleging

  that they engaged in a counterfeiting conspiracy.

         34. Cross Plaintiffs were named in this litigation based on the representations and actions,

  or lack thereof, of Cross Defendants.

         35. Under the circumstances, Cross Defendants should be ordered to indemnify Cross

  Plaintiffs whether based on express agreement, implied agreement or common law.

                                     REQUEST FOR RELIEF

         36. Cross Plaintiffs respectfully request this Court to enter a Judgment in their favor and

  against Cross Defendants in an amount sufficient to compensate them for all economic loss,

  mental distress, treble damages, exemplary and punitive damages, and attorney’s fees and costs.




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        THE MIDWEST DEFENDANTS’ THIRD-PARTY COMPLAINT AGAINST
       ROBERT MCCORMACK, DAN DEE COMPANY AND FADI “KEVIN” ATTIQ

         Defendants Midwest Wholesale Distributors, Inc., Walid Jamil aka Wally Jamil; and

  Justin Shayota (collectively, the “Midwest Parties” or “Third-Party Plaintiffs”) state for their

  Third-Party Complaint Against Third-Party Defendants Robert McCormack, Dan-Dee Company

  and Fadi “Kevin” Attiq as follows:

                            PARTIES, JURISDICTION AND VENUE

         1. Third-Party Plaintiff Midwest Wholesale Distributors, Inc. (“Midwest”) is a Michigan

  corporation with its principal places of business located in Troy, Michigan and San Diego,

  California.

         2. Third-Party Plaintiff Walid Jamil aka Wally Jamil (“Jamil”) is an individual residing

  in Troy, Michigan.

         3. Third-Party Plaintiff Justin Shayota (“Justin Shayota”) is an individual residing in

  San Diego, California.

         4. Third-Party Defendant Robert McCormack (“McCormack”) is an individual residing

  in Michigan.

         5. Third-Party Defendant Dan-Dee Company (“Dan-Dee”) is a California corporation

  with its principal places of business located in Spring Valley, California.

         6. Third-Party Defendant Fadi “Kevin” Attiq (“Attiq”) is an individual residing in

  California.

         7. Jurisdiction and venue have been established in the Court.

                                    GENERAL ALLEGATIONS

         8. Third-Party Plaintiffs incorporate and restate the general allegations set forth in their

  Counterclaim against Living Essentials.



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                               Count I - Fraudulent Misrepresentation

            9. Third-Party Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            10. Third-Party Defendants intentionally made false representations of material facts to

  the Midwest Parties regarding the legitimacy of the business transactions referenced above.

            11. Third-Party Defendants’ representations were false when they were made.

            12. Third-Party Defendants knew that their representations were false when they were

  made or they made them recklessly, without knowing whether they were true.

            13. Third-Party   Defendants    intended     that   Third-Party   Plaintiffs   rely   on   the

  representations.

            14. Third-Party Plaintiffs relied on Third-Party Defendants’ false representations by

  engaging in the business transactions referenced above.

            15. As a result of Third-Party Defendants’ fraudulent misrepresentations, Third-Party

  Plaintiffs have suffered substantial damages and other economic injury, loss of goodwill, harm to

  their business reputation, loss of esteem and standing in the community, and loss of business

  opportunities.

                                Count II - Innocent Misrepresentation

            16. Third-Party Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            17. Third-Party Defendants’ representations, as set forth in the preceding paragraphs,

  were made in connection with the negotiation and formation of contracts between Midwest, Baja

  and various other persons and entities.




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            18. Midwest would not have entered into the contracts if Third-Party Defendants had not

  made the representations.

            19. As a result of Third-Party Defendants’ misrepresentations, Third-Party Plaintiffs have

  suffered substantial damages and other economic injury, loss of goodwill, harm to their business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                        Count III – Silent Fraud

            20. Third-Party Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            21. Third-Party Defendants had an affirmative duty to speak, but failed to disclose

  material facts, causing Third-Party Plaintiffs to have a false impression as to the legitimacy of

  the business transactions referenced above.

            22. As a result of Third-Party Defendants’ silent fraud, Third-Party Plaintiffs have

  suffered substantial damages and other economic injury, loss of goodwill, harm to their business

  reputation, loss of esteem and standing in the community, and loss of business opportunities.

                                      Count IV– Civil Conspiracy

            23. Third-Party Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            24. Third-Party Defendants illegally, maliciously, and wrongfully conspired with one

  another, Baja, Joe Shayota, Roman, Romero and others with the intent to and for the illegal

  purpose of framing Third-Party Plaintiffs and causing them to engage in questionable business

  transactions.

            25. As a result of the conspiracy and Third-Party Defendants’ illegal, wrongful, or

  tortious acts, Third-Party Plaintiffs have suffered substantial damages and other economic injury,




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  loss of goodwill, harm to their business reputation, loss of esteem and standing in the

  community, and loss of business opportunities.

                       Count V – Express, Implied or Common-Law Indemnity

            26. Third-Party Plaintiffs incorporate the foregoing allegations as though fully re-stated

  herein.

            27. Third-Party Plaintiffs reasonably relied on the representations of Third-Party

  Defendants that the business transactions referenced above were legitimate and that same were

  authorized by Living Essentials.

            28. Living Essentials has now commenced litigation against Third-Party Plaintiffs

  alleging that they engaged in a counterfeiting conspiracy.

            29. Third-Party Plaintiffs were named in this litigation based on the representations and

  actions, or lack thereof, of Third-Party Defendants.

            30. Under the circumstances, Third-Party Defendants should be ordered to indemnify

  Third-Party Plaintiffs, whether based on express agreement, implied agreement or common law.

                                        REQUEST FOR RELIEF

            31. Third-Party Plaintiffs respectfully request this Court to enter a Judgment in their favor

  and against Third-Party Defendants in an amount sufficient to compensate them for all economic

  loss, mental distress, treble damages, exemplary and punitive damages, and attorney’s fees and

  costs.




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                                         Respectfully Submitted,

                                         PAESANO AKKASHIAN, PC

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  Dated: February 19, 2013




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